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 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                          )
                                                         )
 9                           Plaintiff,                  )
                                                         )
10            v.                                         )         2:11-CR-063-JCM-(CWH)
                                                         )
11    JOSEPH RAMIREZ,                                    )
                                                         )
12                           Defendant.                  )

13                      AMENDED PRELIMINARY ORDER OF FORFEITURE

14            This Court finds that on June 21, 2011, defendant JOSEPH RAMIREZ pled guilty to Counts

15    One through Three of a Three-Count Criminal Indictment charging him in Count One with Conspiracy

16    to Commit Trafficking in, Production and Use of Counterfeit Access Devises and Fraudulent

17    Transactions with Access Devises Issued to Other Persons in violation of Title 18, United States Code,

18    Sections 371 and 1029(a)(1) and (5); in Count Two with Fraudulent Transactions with Access Devices

19    Issued to Other Persons in violation of Title 18, United States Code, Section 1029(a)(5); and in Count

20    Three with Trafficking in, Production and Use of Counterfeit Access Devices in violation of Title 18,

21    United States Code, Section 1029(a)(1). Indictment, ECF No. 1; Minutes of Change of Plea

22    Proceedings, ECF No. 69; Plea Memorandum, ECF No. 71.

23            This Court finds defendant JOSEPH RAMIREZ agreed to the forfeiture of the property set

24    forth in Forfeiture Allegations of the Criminal Indictment and agreed to in the Plea Memorandum.

25    Indictment, ECF No. 1; Minutes of Change of Plea Proceedings, ECF No. 69; Plea Memorandum,

26    ECF No. 71.
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 1            This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of
 2    America has shown the requisite nexus between property set forth in the Forfeiture Allegations of the
 3    Criminal Indictment and agreed to in the Plea Memorandum, and the offenses to which defendant
 4    JOSEPH RAMIREZ pled guilty. Indictment, ECF No. 1; Minutes of Change of Plea Proceedings, ECF
 5    No. 69; Plea Memorandum, ECF No. 71.
 6            The following assets are subject to forfeiture pursuant to Title 18, United States Code, Section
 7    981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United States Code, Section
 8    982(a)(2)(B); and Title 18, United States Code, Section 1029(c)(1)(C):
 9                   1.     Motorola cell phone S/N SJUG5546AF;
10                   2.     Blackberry cell phone IMEI# 358453021785810;
11                   3.     Any and all funds in Bank of America account 5010-0002-7032 in the
12                          amount of $4,453.94;
13                   4.     $10,940 in United States Currency (seized from Joseph Ramirez);
14                   5.     Glock 21, serial number NHP 408 (with 2 magazines);
15                   6.     Dragonov rifle, serial number D029-75 (with scope and 2 magazines);
16                   7.     Two swords in case, unknown make/model;
17                   8.     Ammo can with .308 rounds;
18                   9.     2005 Black Harley Davidson Sportster, VIN# 1HD1CGP195K453157;
19                   10.    Any and all funds in Bank of America Account No. 11020-11128 in the
20                          amount of $15,035.38;
21                   11.    Any and all funds in Bank of America Account No. 5010-0865-1073 in the
22                          amount of $2,897.31;
23                   12.    2007 Grey Dodge Ram, 1500 Quad Cab, VIN# 1D7HA18267S266252;
24                   13.    Black 1999 RE/MAX International Convention laptop bag;
25                   14.    Unitech MSR206u magnetic card reader;
26                   15.    Magnetic card reader power cord;

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 1               16.   Magnetic card reader USB connection cord;
 2               17.   Magnetic card reader VGA connection cord;
 3               18.   Three Players Club cards;
 4               19.   Package of velcro wire retention straps;
 5               20.   Toshiba Satellite laptop, model number PSL2XU, serial number
 6                     X5110890W;
 7               21.   Laptop power cord;
 8               22.   Several sheets of adhesive label paper;
 9               23.   Nokia cell phone;
10               24.   Camel cigarette pack containing 17 Players Club cards with
11                     PIN numbers written on back, as follows:
12                     Players Club card with PIN number 1234
13                     Players Club card with PIN number 6280
14                     Players Club card with PIN number 4270
15                     Players Club card with PIN number 2323
16                     Players Club card with PIN number 2222
17                     Players Club card with PIN number 3251
18                     Players Club card with PIN number 1961
19                     Players Club card with PIN number 2210
20                     Players Club card with PIN number 9433
21                     Players Club card with PIN number 1937
22                     Players Club card with PIN number 1110
23                     Players Club card with PIN number 5181
24                     Players Club card with PIN number 0823
25                     Players Club card with PIN number 7777
26                     Players Club card with PIN number 5117

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 1                           Players Club card with PIN number 1723
 2                           Players Club card with PIN number 3188;
 3                   25.     Disk located in disk drive of Toshiba laptop, identified as MSR 206U 1.
 4                           Demo 2. Programmer's Manual 3. USB Driver; and
 5                   26.     An in personam criminal forfeiture money judgment of $863,895.00 in United
 6                           States Currency (“property”).
 7            This Court finds the United States of America is now entitled to, and should, reduce the
 8    aforementioned property to the possession of the United States of America.
 9            NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the
10    United States of America should seize the aforementioned property.
11            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of
12    JOSEPH RAMIREZ in the aforementioned property is forfeited and is vested in the United States of
13    America and shall be safely held by the United States of America until further order of the Court.
14            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America
15    shall publish for at least thirty (30) consecutive days on the official internet government forfeiture
16    website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state
17    the time under the applicable statute when a petition contesting the forfeiture must be filed, and state
18    the name and contact information for the government attorney to be served with the petition, pursuant
19    to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).
20            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed
21    with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.
22            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,
23    shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the
24    following address at the time of filing:
25                   Michael A. Humphreys
                     Assistant United States Attorney
26                   Daniel D. Hollingsworth

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 1                   Assistant United States Attorney
                     Lloyd D. George United States Courthouse
 2                   333 Las Vegas Boulevard South, Suite 5000
                     Las Vegas, Nevada 89101.
 3
              IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein
 4
      need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency
 5
      following publication of notice of seizure and intent to administratively forfeit the above-described
 6
      property.
 7
                     October
              DATED this      1, day
                         ______  2012.
                                     of __________________, 2012.
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                                                   UNITED STATES DISTRICT JUDGE
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